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Attorneys for Plaintiffs

                               IN THE UNITED STATES DISTRICT COURT

                                              DISTRICT OF OREGON

                                                  PORTLAND DIVISION

TIANA TOZER, PHILIP RHODES,                                             Case No.:3:22-cv-1336
BARBARA JACOBSEN, DANE SOUTHARD,
LORIEN ILENA WELCHOFF, PAULINE                                          CLASS ACTION COMPLAINT
LONG, MARK BARNHILL, STEVE
JACKSON, KEITH MARTIN, and STEVEN                                       Title II of Americans with Disabilities
REBISCHKE on behalf of themselves and all                               Act, 42 U.S.C. § 12101 et seq.; Section 504
others similarly situated,                                              of the Rehabilitation Act of 1973, 29
                                                                        U.S.C. § 794 et seq.
                                    Plaintiffs,
                                                                        (Class Action Allegation)
         v.
CITY OF PORTLAND,

                                    Defendant.

                                                                 1.

         Plaintiffs Tiana Tozer, Philip Rhodes, Barbara Jacobsen, Dane Southard, Lorien Ilena

Welchoff, Pauline Long, Mark Barnhill, Steve Jackson, Keith Martin, and Steven Rebischke

(collectively, “Plaintiffs”), on behalf of themselves and all other persons similarly situated, allege

as follows:



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                                        INTRODUCTION
                                                      2.

         Plaintiffs bring this lawsuit against Defendant City of Portland (“Defendant” or the “City”)

to address the City’s systemic failure to provide full and equal access to its sidewalks to Plaintiffs

and similarly situated persons with mobility disabilities.1 The City has failed and continues to fail

to maintain its sidewalks clear of debris and tent encampments, which is necessary to make its

sidewalks readily accessible to people with mobility disabilities. Indeed, a substantial number of

the City’s sidewalks—particularly those in the City’s busiest business corridors—do not comply
with applicable federal statutes and regulations because they are blocked by tent encampments and

attendant debris, rendering the sidewalks inaccessible, dangerous, and unsanitary for people with

mobility disabilities.

                                                      3.

         The City’s sidewalks are a fundamental public program, service, or activity that the City

provides for the benefit of its residents and visitors. Clear and readily accessible sidewalks are

necessary to permit people with mobility disabilities to independently, fully, and meaningfully

participate in all aspects of society, including employment, housing, education, transportation,

public accommodations, and recreation, among others. Accordingly, readily accessible sidewalks

are essential to realizing the integration mandate of disability non-discrimination laws, including
the Americans with Disabilities Act of 1990 (the “ADA”) and the Rehabilitation Act of 1973 (the

“Rehabilitation Act”).

                                                      4.

         Plaintiffs are individuals with mobility disabilities or caretakers for individuals with

mobility disabilities. Plaintiffs bring this action on behalf of themselves and all persons with


1
  For purposes of this Complaint, persons with mobility disabilities includes persons with
ambulatory disabilities, visual disabilities, or any other disability for which the person requires
ADA compliant sidewalks, facilities, services, or programs in order to move throughout the City.

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mobility disabilities who live or work in Portland, and who are being denied full and equal access

to the City’s sidewalks and subjected to unlawful or hazardous conditions.

                                                      5.

         Federal disability access laws were enacted to provide persons with disabilities an equal

opportunity to participate fully in civic life. See 42 U.S.C. § 12101(a)(7); 29 U.S.C. § 794(a)

(Section 504 of the Rehabilitation Act (“Section 504”)). Under the ADA and Section 504, a public

entity’s sidewalks, crosswalks, and paved paths—collectively referred to as a public entity’s

“sidewalks”—are a “service, program, or activity of the City within the meaning of Title II of the
ADA.” LA Alliance for Human Rights v. County of Los Angeles, 14 F.4th 947, 959 (9th Cir. 2021).

As detailed below, the City has excluded and continues to exclude Plaintiffs and all other similarly

situated persons with mobility disabilities from participation in, and the benefits of, the City’s

sidewalk program, service, or activity by failing to maintain the City’s sidewalks clear from tent

encampments and debris, thereby discriminating against persons with mobility disabilities.

                                                      6.

         The ADA and Section 504 mandate that a public entity operate each program, service, or

activity so that the program, service, or activity, when viewed in its entirety, is readily accessible

and usable by individuals with disabilities. 28 C.F.R. § 35.150(a), (b)(1); 45 C.F.R. § 84.22(a), (b).
Where a person with a mobility disability “cannot traverse sidewalks [. . .] because of homeless

encampments,” a city can be required to clear the sidewalks “[t]o the extent the City is liable for

the obstructions[.]” LA Alliance, 14 F.4th at 959.

                                                      7.

         The denial of meaningful, equal, and safe access to the City’s sidewalks for persons with

mobility disabilities complained of in this Complaint is the direct result of the City’s policies,

procedures, and practices with regard to sidewalks and unsheltered persons. The City has failed
to adopt or implement reasonable administrative methods, policies, and procedures for inspecting,

clearing, and maintaining the sidewalks, as required by the ADA and the Rehabilitation Act.
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                                                     8.

         These administrative methods, policies, and procedures, or lack thereof, discriminate

against persons with disabilities by denying them access to the City’s sidewalks, as well as

facilities in which the City’s programs, services, and activities are made available to the public.

Simply, the City’s sidewalks, when viewed in their entirety, are not readily accessible to and usable

by persons with mobility disabilities due to the City’s failure to maintain clear sidewalks free of

debris and tent encampments. Indeed, the City’s most glaring violations are centered in Portland’s

Old Town, Chinatown, Downtown, and Pearl District areas, as well as locations on the City’s east
side, including the Central Eastside Industrial District, the Lloyd District, and the areas

surrounding Laurelhurst Park, Lone Fir Cemetery, and Sunnyside Elementary School. Those areas

are some of the City’s busiest commercial and business corridors, as well as home to the majority

of the City’s public transportation hubs and Union Station—the City’s sole Amtrak train station.

Accordingly, the City’s failure to maintain compliant sidewalks greatly diminishes the ability of

persons with mobility disabilities to conduct business, commerce, and travel throughout the City

and interstate.

                                                     9.

         The City has failed to comply with the ADA and Section 504 by allowing tent
encampments and debris to block City sidewalks for over three years. Furthermore, for over three

years, the City has made compliance with the ADA and Section 504 a lower priority than other

activities and projects, including discretionary activities and projects not mandated by law. The

City’s failure to prioritize compliance with the ADA and Section 504 constitutes a policy or

practice that denies program access to, and discriminates against, persons with mobility

disabilities. This lawsuit seeks a court order requiring the City to comply with these laws to

provide people with mobility disabilities meaningful access to the City’s sidewalks.




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                                                      10.

         Plaintiffs bring this action to remedy violations of Title II of the ADA, 42 U.S.C. § 12101,

et seq., and its accompanying regulations, and Section 504 of the Rehabilitation Act, 29 U.S.C. §

794, et seq., and its accompanying regulations. Plaintiffs seek injunctive relief pursuant to these

statutes and an award of reasonable attorney fees, expenses, and costs under applicable law.

                                    JURISDICTION AND VENUE
                                                      11.

         This is an action for injunctive relief brought pursuant to Title II of the ADA, 42 U.S.C. §§
12101 to 12213, and Section 504, 29 U.S.C. § 794, et seq. to redress systemic civil rights violations

against people with mobility disabilities by the City of Portland.

                                                      12.

         This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343 for claims

arising under the ADA and Section 504.

                                                      13.

         This Court has jurisdiction to issue injunctive relief pursuant to 28 U.S.C. §§ 2201 and

2202, and Rule 65 of the Federal Rules of Civil Procedure.

                                                      14.
         Venue is proper in the District of Oregon because the City resides in the District of Oregon

within the meaning of 28 U.S.C. § 1391, and because the events, acts, and omissions giving rise

to Plaintiffs’ claims occurred in the District of Oregon. Assignment to the Portland Division is

proper because the City is located in Multnomah, Washington, and Clackamas Counties.

                                                PARTIES
                                                      15.

         Plaintiff Tiana Tozer (“Ms. Tozer”) lives in the Irvington neighborhood of Portland,
Oregon and works in Downtown Portland. Ms. Tozer has a mobility disability that limits her

ability to walk. Ms. Tozer is a “qualified person with a disability” and a person with a “disability”
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within the meaning of all applicable statutes and regulations, including 42 U.S.C. § 12131(2), 28

C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                     16.

         Plaintiff Philip Rhodes (“Mr. Rhodes”) lives in the Old Town neighborhood of Portland,

Oregon. Mr. Rhodes is a veteran and has a mobility disability that substantially limits his ability

to walk and requires the use of an electric scooter or a walker. Mr. Rhodes is a “qualified person

with a disability” and a person with a “disability” within the meaning of all applicable statutes and

regulations, including 42 U.S.C. § 12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).
                                                     17.

         Plaintiff Barbara Jacobsen (“Ms. Jacobsen”) lives in the Old Town neighborhood of

Portland, Oregon. Ms. Jacobsen has life-long congenital medical conditions that restrict her

mobility and require her to use a walker, rely on public transportation, and rely on the City’s

sidewalks. Ms. Jacobsen is a “qualified person with a disability” and a person with a “disability”

within the meaning of all applicable statutes and regulations, including 42 U.S.C. § 12131(2), 28

C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                     18.

         Plaintiff Dane Southard (“Mr. Southard”) lives in the Park Blocks in downtown Portland,
Oregon. Mr. Southard suffered a spinal cord injury that restricts his mobility and requires him to

use a wheelchair, cane, or walker at all times. Mr. Southard is a “qualified person with a disability”

and a person with a “disability” within the meaning of all applicable statutes and regulations,

including 42 U.S.C. § 12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                     19.

         Plaintiff Lorien Ilena Welchoff (“Ms. Welchoff”) lives in the Pearl District neighborhood

of Portland, Oregon. Ms. Welchoff has been diagnosed with Cerebral Palsy and Spastic Diplegia
Type 4. Both conditions restrict Ms. Welchoff’s mobility and require her to use a wheelchair or

electric scooter. Ms. Welchoff is a “qualified person with a disability” and a person with a
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“disability” within the meaning of all applicable statutes and regulations, including 42 U.S.C. §

12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                     20.

         Plaintiff Pauline Long (“Ms. Long”) lives near the Lloyd District neighborhood of

Portland, Oregon. Ms. Long has a disability that restricts her mobility and requires her to use an

electric wheelchair. Ms. Long is a “qualified person with a disability” and a person with a

“disability” within the meaning of all applicable statutes and regulations, including 42 U.S.C. §

12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).
                                                     21.

         Plaintiff Mark Barnhill (“Mr. Barnhill”) lives in the River District neighborhood of

Portland, Oregon. Mr. Barnhill has a disability that restricts his mobility and requires him to use

an electric wheelchair. Mr. Barnhill is a “qualified person with a disability” and a person with a

“disability” within the meaning of all applicable statutes and regulations, including 42 U.S.C. §

12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                     22.

         Plaintiff Steve Jackson (“Mr. Jackson”) lives in the Woodlawn neighborhood of Portland,

Oregon. Mr. Jackson has a condition called retinitis pigmentosa which has rendered him legally
blind and continues to deteriorate his vision. Mr. Jackson’s condition requires him to use a cane

to assist his walking. Mr. Jackson is a “qualified person with a disability” and a person with a

“disability” within the meaning of all applicable statutes and regulations, including 42 U.S.C. §

12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                     23.

         Plaintiff Keith Martin (“Mr. Martin”) lives in the Cultural District in downtown Portland,

Oregon. Mr. Martin suffered a hemorrhagic stroke that left him partially paralyzed. Mr. Martin
requires a mobility scooter or a walker to move around. Mr. Martin is a “qualified person with a


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disability” and a person with a “disability” within the meaning of all applicable statutes and

regulations, including 42 U.S.C. § 12131(2), 28 C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B).

                                                       24.

         Plaintiff Steven Rebischke (“Mr. Rebischke”) lives in the Laurelhurst neighborhood of

Portland, Oregon. Mr. Rebischke is a full-time caretaker for a person with a mobility disability

that restricts his mobility and requires him to use a walker or cane. The person to whom Mr.

Rebischke provides care is a “qualified person with a disability” and a person with a “disability”

within the meaning of all applicable statutes and regulations, including 42 U.S.C. § 12131(2), 28
C.F.R. § 35.104, and 29 U.S.C. § 705(20)(B), and Mr. Rebischke has standing to bring this lawsuit

pursuant to 42 U.S.C. § 12133.

                                                       25.

         The Plaintiff class consists of all Portland residents with mobility disabilities, or caretakers

of persons with mobility disabilities, who use or will use the sidewalks in the City through the date

of judgment in this action.

                                                       26.

         At all times relevant to this Complaint, Defendant City of Portland is and has been a public

entity within the meaning of Title II of the ADA and has received federal financial assistance
within the meaning of the Rehabilitation Act of 1973 sufficient to invoke its coverage.

                                                       27.

         The City is a local government entity with the responsibility of providing Plaintiffs and

other persons with mobility disabilities with access to its public facilities, programs, services, and

activities. The City is responsible for maintaining, repairing, and regulating its sidewalks.




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                                    FACTS APPLICABLE TO ALL CLAIMS
                                                         28.

         In the past several years, the unsheltered population of Portland has increased significantly.

Since the onset of the Covid-19 Global Pandemic and the corresponding economic downturn, the

number of such persons camping on the streets of downtown Portland exploded.

                                                         29.

         While political pressure has mounted on City officials to address these issues, competing

political headwinds and countervailing forces have prevented the City from acting. The result is
that the City has taken only limited action to maintain its sidewalks clear from tent encampments

and debris and, instead, prioritizes other public projects.

                                                         30.

         The City’s failure to curb and reasonably control the proliferation of tent encampments has

had a particularly harmful impact on persons with mobility disabilities. This is unfortunate because

this population is frequently marginalized and relies on a functional city government to ensure

their ability to effectively and safely navigate the City so that they may live their lives. Indeed,

12.9% of Portlanders live with a disability, constituting the largest minority in Portland. 6% of

Portlanders have an ambulatory impairment and 2.4% of Portlanders have a visual impairment,

both of which are affected by the City’s inaction, and are more likely than other Portlanders to rely
on ADA compliant sidewalks to use the City’s public amenities, such as TriMet.

                                                         31.

         On January 26, 2022, a point-in-time survey conducted of the Portland Metropolitan Area

showed that 5,228 persons in Multnomah County were homeless, and 3,057 were unsheltered and

sleeping on the street. Of those 3,057 people, a large number have turned the sidewalks of Portland

into unsafe and hazardous dwellings.2

2
 The City maintains a regularly updated map of Portland—called the “Campsite Reports – Time
Aware Map”—indicating the locations of unsafe and hazardous tent “campsites, vehicles, or an
accumulation of garbage reported to the City using the One Point of Contact Campsite Reporting
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                                                    32.

         The majority of tent encampments that have proliferated in west Portland are in the Old

Town3, Chinatown, and Pearl District neighborhoods. Those neighborhoods are among Portland’s

busiest business corridors and also home to the City’s transportation hubs. The areas and streets

around Union Station, as one example, have become so overpopulated with tent encampments and

debris that entirely block the sidewalks, that persons with mobility disabilities are unable to

maneuver through those streets and are denied access to TriMet MAX Blue, Red, Yellow, and

Green lines; many TriMet Bus Lines; and Amtrak services to other states.
                                                    33.

         Similarly, Portland’s east side has tent encampments throughout. The highest

concentrations of tent encampments on the east side are found in the Central Eastside Industrial

District, the Lloyd District4, and in the areas surrounding Laurelhurst Park, Lone Fir Cemetery,

and Sunnyside Elementary School.

                                                    34.

         A great number of the tent encampments block the sidewalks and prevent persons with

mobility disabilities from being able to use them. Additionally, the tent encampments typically

contain attendant trash that pose additional health and safety threats. The following paragraphs




System.” The map is hosted by ArcGIS Online and may be found at:
https://www.arcgis.com/apps/TimeAware/index.html?appid=ac6a6abf1092482190984a5df9dfac
b0.
3
  Due to the abundance of sidewalks and density in Old Town, as well as the proximity to public
resources and amenities, the percentage of persons with mobility disabilities living in Old Town
is nearly 14% higher than the rate of persons with mobility disabilities living in Portland at large.
The proliferation of tent encampments in Old Town is, accordingly, particularly troublesome to
people with mobility disabilities.
4
  Similar to Old Town, the Lloyd District has a much higher rate of residents with mobility
disabilities than the City at large, ostensibly due to the density and abundance of resources nearby.

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illustrate that a few representative examples of blocked sidewalks caused by tent encampments,

and attendant threats to persons with mobility disabilities throughout the City as a whole:

                                                    35.




The tent encampment shown in this photograph at NW Broadway & Glisan Street in Old Town

blocked an entire sidewalk from use by persons with mobility disabilities. Within one block of this

tent encampment are vital public resources and services upon which persons with mobility
disabilities rely. The post office, Union Station, the Greyhound station, and several MAX and bus

stops are all within a city block or two of this tent encampment. Tent encampments in high traffic

areas such as this are particularly troublesome to persons with mobility disabilities.           This

encampment was removed by the City prior to the filing of this complaint but the City has taken

no steps to assure that a similar encampment will not return.




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                                                   36.




The tent encampment in this photograph completely blocked City sidewalks adjacent to the Pacific

Northwest College of Arts on SW Broadway and Hoyt Street prior to the filing of this complaint.

The encampment is now smaller but college students with mobility disabilities who attend Pacific

Northwest College of Arts continue to have issues entering and leaving the school because of such

encampments and frequently have to maneuver in the street to gain access to their school.




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                                                  37.




This tent encampment at NW Broadway and Hoyt completely blocks the sidewalk near an

intersection providing access to Pacific Northwest College of Arts, Union Station, and numerous

TriMet Stops.




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                                                    38.




This tent encampment completely blocks the sidewalk on the backside of the Pacific Northwest

College of Arts on NW Park Avenue between Hoyt & Glisan Streets. This tent encampment also

poses an obstacle to persons with mobility disabilities attempting to access the North Park Blocks.




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                                                     39.




The tent encampment in this photograph was located on NW 2nd Avenue and Flanders Street in
China Town. The tent encampment—in addition to blocking the sidewalks—obstructed the

sidewalk access adjacent to a handicap parking spot (see wheelchair parking sign). Persons looking

for parking for a wheelchair van would likely have to abandon this spot and look elsewhere because

the obstruction would interfere with safely unloading a wheelchair. Although this encampment

was removed by the City prior to filing this complaint, the City has taken no steps to assure that

similar encampments will not return.




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                                                     40.




The tent encampment in this photograph blocks the sidewalk at the intersection of NW 2nd Avenue

and Couch Street. This section of Old Town contains numerous tent encampments posing obstacles

to persons with mobility disabilities attempting to use one of Portland’s historic business corridors.




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                                                  41.




The tent encampment in this photograph blocks the sidewalk on the north side of Burnside Street

between NW 2nd and 3rd Avenues. This tent encampment poses a significant obstacle to persons

with mobility disabilities attempting to access the TriMet Bus Mall, the Downtown corridor, or

attempting to cross into the east side of Portland over the Burnside Bridge—one of the more

pedestrian friendly bridges.




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                                                  42.




The tent encampment in this photograph blocks the sidewalk on the east side of NW 19th Avenue

between Thurman and Savier Streets at an I-405 overpass.




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                                                  43.




The tent encampment in this photograph blocks even more of the sidewalk on the east side of NW

19th Avenue between Thurman and Savier Streets at an I-405 overpass, immediately following the

blockage shown in Paragraph 42.




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                                                    44.




This is the same tent encampment shown in Paragraph 43 blocking the sidewalk on the east side

of NW 19th Avenue between Thurman and Savier Streets. This photograph highlights that the

sidewalk on this stretch of street is completely blocked to persons with mobility disabilities.




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                                                    45.




The tent encampment in this photograph is taken from a similar vantage point to that taken in

Paragraph 45. This tent encampment occludes the sidewalk on the west side of NW 19th Avenue

between Thurman and Savier Streets.




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                                                     46.




This panoramic photograph shows the extent of the tent encampments described Paragraphs 42
through 45. These tent encampments show that the sidewalks on both sides of NW 19th Avenue

are blocked between Thurman and Savier Streets. This encampment is particularly problematic

because it could prevent persons with mobility disabilities from crossing under I-405 without

maneuvering unsafely in the streets.




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                                                     47.




The tent encampment in this photograph completely blocked the west side sidewalk on SW 15th

Avenue between Taylor and Salmon Streets prior to filing this complaint. Since that time the

encampment has become smaller but still poses a significant challenge to Lincoln High School

students with mobility disabilities attempting to enter their school.




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                                                     48.




The tent encampment in this photograph completely blocks the sidewalk on the north side of SE

Alder Street between Grand Avenue and Martin Luther King, Jr. Boulevard. This area is in a high-
density area with plenty of amenities normally accessible to persons by sidewalks, including the

Oregon Museum of Science and Industry, and numerous shops and businesses located in the

Central East Side business district.




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                                                   49.




The tent encampment in this photograph completely blocks the sidewalk on the south side of SE

Stark Street between Martin Luther King, Jr. Boulevard and 7th Avenue. and is frequently used by

pedestrians traveling from the Central Eastside business district to the restaurants and shops on

lower Burnside.




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                                                   50.




The tent encampment in this photograph completely blocks the sidewalk on the west side of SE

30th Avenue at Belmont Street in the Sunnyside Neighborhood in Southeast Portland. This tent

encampment is particularly problematic for persons with mobility disabilities attempting to visit

the numerous restaurants and shops on SE Belmont Street—one of the most vibrant cultural centers

of the City.




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                                                   51.




The tent encampment in this photograph completely blocks the sidewalk on the south side of NE

Halsey Street near 9th Avenue in the Lloyd District.




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                                                   52.




The tent encampment and garbage piles in this panoramic photograph completely blocks the

sidewalk on the north side of NE Halsey Street near 14th Avenue in the Lloyd District. The tent

encampments in Paragraphs 51 and 52 prevent persons with mobility disabilities from commuting

to the numerous office buildings and jobs in the Lloyd District, as well as the many restaurants,

shops, and amenities in the Lloyd District, including the Lloyd Center.




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                                                   53.




The tent encampment in this photograph completely blocks the sidewalk on the east side of NE

Wheeler Avenue in Northeast Portland immediately adjacent to the Moda Center and surrounding

amenities. This tent encampment poses a significant problem to persons with mobility disabilities

attempting to see a concert or Portland Trail Blazers game at the Moda Center—an activity enjoyed
by many Portlanders.




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                                                    54.




The tent encampment in this photograph blocked a portion of the sidewalk on SE Cesar Chavez

Boulevard and Pine Street adjacent to Laurelhurst Park. This tent encampment was particularly

dangerous to persons with mobility disabilities because Cesar Chavez Blvd is one of the busiest

thoroughfares in the City and a person with a mobility disability could not maneuver into that street
without unacceptably dangerous threats to their physical well-being. The location of this tent

encampment was even more troublesome because it was located very near to a bus stop, upon

which persons with mobility disabilities may rely upon to travel the city. This tent encampment

was also particularly dangerous to the persons living in it, as they were unacceptably close to a

fast-moving thoroughfare and are at risk of being struck by cars. This encampment was recently

removed by the City but the City has taken no steps to assure that encampment like these do not

recure in the Laurelhurst area.




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                                                    55.




The garbage pile shown in this photograph was taken at Laurelhurst Park, a public resource used

by persons with mobility disabilities. Particularly prominent is this photograph are hypodermic

syringes ostensibly used at the tent encampments to inject drugs. Hypodermic syringes pose a

serious health risk to persons with mobility disabilities who may become stuck with the syringes
while operating a wheelchair, putting them at risk for communicable diseases. Plaintiffs frequently

see similar trash piles containing syringes near tent encampments across town.




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                                                     56.




The tent encampment in this photograph completely blocks the sidewalk on the west side of SW

11th Avenue in Southwest Portland at Jefferson Street immediately adjacent to retail businesses
and other amenities in the Cultural District.

                                                     57.

         The City, for its part, has failed to implement any consistent and reliable policy to clear

and maintain the sidewalks such that all Portlanders are able to safely and effectively use the

sidewalks. Accordingly, the City has denied persons with disabilities readily accessible sidewalks.




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                            EXPERIENCES OF THE NAMED PLAINTIFFS
                                                     58.

         A.        Tiana Tozer
         Ms. Tozer is a 54-year-old activist, former humanitarian aid worker, and two-time

Paralympic medalist at the 1992 Barcelona and 1996 Atlanta Paralympic Games. Ms. Tozer was

struck by a drunk driver when she was 20-years-old, which left her with a permanent mobility

disability that makes it difficult for her to walk. Ms. Tozer has made it her life’s mission to

advocate for justice for persons with disabilities.
                                                     59.

         Ms. Tozer is a tenacious advocate for justice. She was a congressional intern in the early

1990s and successfully worked for the passage of the Americans with Disabilities Act—the same

act through which she brings the current action. Ms. Tozer then moved abroad to Iraq where she

implemented a program teaching people with disabilities to advocate for themselves, deliver social

change, and run a program that taught over 10,000 women how to read and write. Ms. Tozer also

served as the State Director in Southern Kordofan in Sudan where she ran a program to develop

government capacity to deliver services.

                                                     60.

         Ms. Tozer lives in the Irvington neighborhood of Portland, Oregon. Ms. Tozer works
downtown and frequently runs errands in the Lloyd District of Portland. In commuting to work

and running her errands, Ms. Tozer relies on the City’s sidewalks.

                                                     61.

         Ms. Tozer frequently finds herself having to alter her routes to maneuver around tent

encampments in the Lloyd District and in Downtown Portland and, at times, Ms. Tozer has had to

maneuver in the street because the sidewalks are completely blocked by tent encampments. Ms.
Tozer views the tent encampments as an unsafe condition and violation of the ADA that puts her



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and other people with mobility disabilities at risk of physical danger and harm, in addition to

denying them equal access to public facilities.

                                                     62.

         B.        Philip Rhodes
         Mr. Rhodes is an 81-year-old Navy Veteran who served as a flight-deck crewman and has

a 10% disability rating from the Veteran’s Affairs Administration. His sole income sources are

SSA and VA disability payments. Because both of Mr. Rhodes’ knees are damaged from old

injuries, his mobility is limited and he relies on an electric scooter to help him get around and run
errands, such as going to the grocery store. For short distances, Mr. Rhodes is able to use a walker.

                                                     63.

         Mr. Rhodes is originally from East St. Louis, Illinois. He moved to Portland and into the

current building where he lives in Old Town in 2004, the same year that he retired. When he moved

into Old Town, Mr. Rhodes notes that Portland was a safe, clean, and well-run city.

                                                     64.

         In recent years, Mr. Rhodes has experienced the downturn of Portland’s downtown which

has coincided with the proliferation of unsheltered persons living on the streets in tents near his

apartment, and in the neighborhoods where he shops and runs errands. Mr. Rhodes has experienced
unsheltered persons camping on downtown sidewalks who completely obstruct his ability to use

the sidewalks to run errands and conduct business. Indeed, Mr. Rhodes routinely has to cross the

street to use sidewalks on the other side of the block in order to move through downtown and has

even, at times, had to operate his electronic scooter in the street in order to bypass encampments

that obstruct his ability to use the sidewalks, putting himself in danger.

                                                     65.

         Mr. Rhodes efforts to use the City sidewalks have also resulted in unprovoked altercations
with unsheltered persons. One such person tried to push him into traffic, and, on two separate

instances, unsheltered persons have stood in the sidewalk and prevented Mr. Rhodes from passing,
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requiring him to turn around and take another route. Mr. Rhodes has also suffered verbal assaults

on occasion. Accordingly, Mr. Rhodes avoids going outside after dark out of concerns for his

safety and wanting to avoid further dangerous encounters.

                                                    66.

         C.        Barbara Jacobsen
         Ms. Jacobsen—affectionately called Babs by her friends and community—is a 62-year-old

woman living in the Old Town and has lived in Portland for over 25 years. Ms. Jacobsen suffers

from a degenerative joint disease, vocal cord dysfunction, chronic obstructive pulmonary disease,
post-traumatic stress disorder, and fibromyalgia. Ms. Jacobsen uses an electric wheelchair to move

around. Ms. Jacobsen also uses a service dog named Vinnie to alert her to seizures and breathing

ailments. She is an accomplished artist and sings in the choir with the Maybelle Center.

                                                    67.

         Ms. Jacobsen formerly volunteered at a community nonprofit in Old Town that helps fight

social isolation in disadvantaged communities. From her current home, and from her prior home

in the Pearl District, Ms. Jacobsen commutes on the City’s sidewalks and on public transit. In

recent years, Ms. Jacobsen has noticed a decline in downtown Portland’s safety and cleanliness.

Since her nonprofit reopened, Ms. Jacobsen finds it challenging to get around due to tent
encampments and debris. Ms. Jacobsen frequently has to operate her wheelchair in the street in

order to maneuver around the tents, putting herself in danger.

                                                    68.

         Further, while maneuvering through her neighborhood Ms. Jacobsen has to keep Vinnie on

her wheelchair with her because it is not safe for him to walk beside her. For instance, in areas

near the tent encampments, especially near Union Station, there is frequently broken glass, vomit,

syringes, urine, and feces on the ground that would harm Vinnie if he were allowed to walk.




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                                                    69.

         Recently, Ms. Jacobsen was assaulted by unsheltered persons while out walking during the

day. Ms. Jacobsen has been spat on and sees frequent and open drug use in the tent encampments.

She has been maced by unsheltered persons as she left a nearby business establishment and took

three weeks to heal. Accordingly, Ms. Jacobsen fears for her safety and has taken to carrying a

knife for self-defense.

                                                    70.

         Ms. Jacobsen has also been prevented from leaving her apartment by an unsheltered person
sleeping in the doorway. The cumulative effects of the tent encampments prevent Ms. Jacobsen

from safely using the sidewalks to buy groceries, visit her doctors, and commute to and from work,

and the drug use and crime associated with the tent encampments make Ms. Jacobsen fearful for

her safety.

                                                    71.

         D.        Dane Southard
         Mr. Southard lives in the Park Blocks in downtown Portland. Seven years ago, Mr.

Southard suffered a spinal cord injury and became permanently disabled. Mr. Southard has limited

mobility and uses a cane, walker, or wheelchair.
                                                    72.

         Mr. Southard routinely has issues moving through downtown because of tent encampments

blocking the sidewalk. Mr. Southard tries to maneuver past encampments to the best of his ability,

but frequently finds that he has to avoid using certain sidewalks on certain streets because they are

completely blocked by tents, and he is unable to maneuver around them. Mr. Southard has also

been unable to use sidewalks due to debris accumulated and generated by the tent encampments.

Mr. Southard also uses the parks in downtown Portland less than he used to due to the obstructions
and fear for his safety.


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                                                     73.

         Even worse, Mr. Southard has been threatened and harassed by unsheltered persons in tents

on numerous occasions while doing nothing but trying to maneuver around their tents. He has been

physically assaulted twice outside his home by such persons, has been held against his will in an

attempted mugging, and has been chased by an unsheltered person who pushed her way into the

lobby of his building. Both he and his building have reported the crimes to police, but the police

officers tell him there is nothing that they can do to address the sidewalk blockages caused by the

tent encampments.
                                                     74.

         E.        Lorien Ilena Welchoff
         Ms. Welchoff is a 21-year-old art student at a college in the Pearl District. Ms. Welchoff

was diagnosed with Cerebral Palsy at 18 months old. At 14 years old, she was diagnosed with

Spastic Diplegia Type 4. Because of these conditions, Ms. Welchoff has to use an electric scooter

or a wheelchair to move around.

                                                     75.

         Ms. Welchoff also lives in the Pearl District, commutes to and from school at the Pacific

Northwest College of Art by the City sidewalks, and frequently uses public transportation to visit
her hometown of Aloha, Oregon. Ms. Welchoff has difficulties commuting to school and Aloha

from her house. Ms. Welchoff frequently has to change routes, take longer routes, and operate her

wheelchair in the street because of tent encampments and debris obstructing the sidewalk.

                                                     76.

         Ms. Welchoff has been followed and harassed by unsheltered persons as she attempts to

navigate around their encampments and even had her personal property stolen while attempting to

enter her school. Because of this, Ms. Welchoff has become fearful of moving through downtown
and uses her school’s campus safety officer to escort her back to her home whenever it is dark

outside—she simply does not feel safe and is scared to deal with unsheltered persons after dark.
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                                                     77.

         Further, Ms. Welchoff has frequently had to wash herself and her wheelchair off after

returning home due to operating her wheelchair through human feces which is not visible after

dark. The tent encampments obstructing downtown sidewalks have become unsanitary and pose

substantial health risks to Ms. Welchoff.

                                                     78.

         F.        Pauline Long
         Ms. Long is a 66-year-old woman residing in the Lloyd District neighborhood in east
Portland. Ms. Long has a disability that affects her mobility and requires her to use an electric

wheelchair to move around.

                                                     79.

         Ms. Long has lived in the Lloyd District for roughly two years and relies on the City’s

sidewalks to navigate her neighborhood, including travelling to her gym, L.A. Fitness, and

travelling to Lloyd Center to run errands and shop.

                                                     80.

         Several months ago, tent encampments began popping up on NE Weidler Street in the

Lloyd District immediately in Ms. Long’s route to her neighborhood amenities. The tent
encampments frequently include vehicles converted into dwellings and the persons residing in

those encampments frequently block the sidewalk with refrigerators, stoves, abandoned

appliances, and trash. Ms. Long has also been prevented from using the sidewalks due to the

presence of used needles, urine, and human feces—all of which pose a health risk to her. Ms. Long

has also been harassed by the persons living in the tent encampments, including having a full bottle

of liquid thrown at her for running over a sandwich wrapper with her wheelchair. Ms. Long worries

for her safety when traversing around the tent encampments and frequently has to operate her
wheelchair in the street or take more circuitous routes to arrive at her destination.


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                                                    81.

         G.        Mark Barnhill
         Mr. Barnhill is a 64-year-old veteran living in the River District neighborhood in west

Portland. Mr. Barnhill has a disability that affects his mobility and requires him to use an electric

wheelchair to move around.

                                                    82.

         Mr. Barnhill frequently finds himself unable to use the sidewalks due to the presence of

the tent encampments which often completely block the sidewalks. Mr. Barnhill has had to operate
his wheelchair in the street to maneuver around the tent encampments or all together change his

routes to get where he is going. As one such example, Mr. Barnhill relies on the number 8 TriMet

bus to commute to his doctor at the Veteran’s Administration hospital at the Oregon Health &

Sciences University campus. Frequently there has been a tent encampment blocking his ability to

cross into Old Town at NW 1st Avenue and Glisan Street which prevents him from accessing his

bus. When that crosswalk is blocked, Mr. Barnhill is required to reroute four to five blocks out of

his way which can significantly delay him or cause him to forego visiting his doctor at all.

                                                    83.

         Mr. Barnhill also worries for his safety and has been harassed and even followed by
unsheltered person on several occasions. On one such occasion, Mr. Barnhill felt so scared that he

had to confront the unsheltered person and threaten force to defend himself. Mr. Barnhill has taken

to carrying a taser with him for self-defense.

                                                    84.

         H.        Steve Jackson
         Mr. Jackson is a 47-year-old man living in the Woodlawn neighborhood in Northeast

Portland. Mr. Jackson has a condition called retinitis pigmentosa that has rendered him legally
blind and continues to deteriorate his vision. Mr. Jackson requires the use of a cane to safely

navigate throughout the City.
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                                                    85.

         Mr. Jackson is self-employed under the Randolph-Sheppard Act which provides

opportunities to blind people to fulfill vending needs in federal facilities. Through that program,

Mr. Jackson operates two micro-market convenience stores: one in the Bonneville Power

Administration building in the Lloyd District and the other at Lloyd Center.

                                                    86.

         Mr. Jackson walks to work and frequently encounters tents in the middle of the sidewalk

or attendant debris from the tent encampments that completely obstructs Mr. Jackson’s ability to
use the sidewalk. When this happens, Mr. Jackson is required to step into the street to maneuver

around the encampments. Entering the street in this manner is especially dangerous to Mr. Jackson,

who—owing to his vision disability—is unable to safely watch for cars.

                                                    87.

         Mr. Jackson has at times accidentally stepped on the foot or leg of persons in the tent

encampments when attempting to walk by. When this happens, Mr. Jackson and the persons in the

tent encampments are startled, and Mr. Jackson is forced to continue on in fear, hoping that the

person does not assume that he stepped on them on purpose and will not pursue him to harass or

attack him.
                                                    88.

         Mr. Jackson has repeatedly reported his safety concerns to local authorities to no avail.

Indeed, Mr. Jackson even testified to the Portland City Council on November 10, 2021, to alert

them to the dangerous sidewalk conditions but has seen no improvement.

                                                    89.

         I.        Keith Martin
         Mr. Martin is a 71-year-old man that lives in the Cultural District in downtown Portland.
Mr. Martin is a longtime Portland resident and pillar of the community. Mr. Martin moved to

Portland in 1969 to attend Reed College. He then briefly left Portland to attend The Julliard School
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in New York City, New York. When Mr. Martin returned to Portland, he founded the first

professional ballet company in the state, Ballet Oregon. Ballet Oregon continues to this day as the

Oregon Ballet Theater. Most recently, Mr. Martin finished two three-year terms as a trustee for the

Oregon Ballet Theater and has been an active supporter of the Portland Art Museum for many

years. Mr. Martin is also a small business owner, publishing a magazine for sports car collecting

for 35 years. Years ago, Mr. Martin was an active volunteer at Baloney Joe’s—a former non-profit

that assisted Portland’s population of persons experiencing houselessness by providing showers,

fresh clothing, and an address such that they could apply for jobs and re-enter the workforce.
                                                     90.

         Three years ago, Mr. Martin suffered a hemorrhagic stroke that left him partially paralyzed

and permanently disabled. Mr. Martin has limited mobility and relies on a mobility scooter or

walker to move. After suffering his stroke, Mr. Martin decided to move to the Cultural District

because—although he could never be as active as he once was—Mr. Martin wanted to live life to

its fullest. Mr. Martin specifically decided on the Cultural District because of its proximity to mass

transportation—upon which he now relies—as well as its proximity to a grocery store, restaurants,

nightlife, and cultural attractions such as the Art Museum. Because Mr. Martin decided on moving

to a condominium with these amenities and features, he is able to live completely independently
and without the assistance of an aide. He also lives with his teenage son, a Lincoln High School

student, half of the week.

                                                     91.

         Since moving to the Cultural District, Mr. Martin has noticed a marked decline in his access

to the amenities and mass transit that were the deciding factor on where he chose to live. Mr.

Martin’s building frequently has tent encampments in front of it or adjacent to it that require him

to operate his scooter in the street in order to maneuver around them, putting himself in danger. If
Mr. Martin decides to accompany his son to school at Lincoln, he similarly has to operate his

scooter unsafely in the street to maneuver around tent encampments en route to, or near, Lincoln.
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                                                     92.

         Mr. Martin no longer feels safe in the Cultural District. Mr. Martin has been yelled at and

harassed by residents of tent encampments for doing nothing more than operating his scooter in

proximity to the tent encampments. While Mr. Martin used to frequently ride the Streetcar to travel

around the City, he now sparingly uses it now because he feels vulnerable while waiting on the

platform with no means of escape. Mr. Martin has even taken to carrying mace for self-defense.

                                                     93.

         J.        Steven Rebischke
         Mr. Rebischke is a 58-year-old man living in the Laurelhurst neighborhood in Southeast

Portland. Mr. Rebischke does not have a disability, but rather is a full-time caregiver to a person

who suffers from a previous stroke, dementia, and Wernicke-Korsakoff syndrome. The person to

whom Mr. Rebischke provides care uses a walker or cane to move, and has issues navigating

sidewalks, even under clear conditions.

                                                     94.

         Mr. Rebischke’s neighborhood has seen a proliferation of tent encampments which prevent

Mr. Rebischke’s charge from safely walking with his cane or walker. He often has to walk around

the encampments in the street, putting himself in danger. The tent encampments have posed issues
entering Laurelhurst Park—another public facility frequently denied to the person to whom Mr.

Rebischke provides care.

                                                     95.

         For over a year, Mr. Rebischke has complained to City, County, State, and Federal officials

about the tent encampments and their attendant garbage, misbehaved dogs, and repeated

harassment from unsheltered persons suffered while walking his neighborhood with the person to

whom he provides care. Mr. Rebischke has been so frustrated with the tent encampments’ effects
on access to sidewalks and the park, and the City’s refusal to respond to his complaints, that Mr.


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Rebischke has filed an ADA complaint. Mr. Rebischke’s ADA complaint has seemingly gone

nowhere and has received no follow-up.

                                    CLASS ACTION ALLEGATIONS
                                                      96.

         Plaintiffs bring this action individually, and on behalf of all Portland residents with

mobility disabilities who use or will use the sidewalks in the City, as a class action under Rule

23(b)(2) of the Federal Rules of Civil Procedure.

                                                      97.
         Each member of the class is a “qualified person with a disability” and a person with a

“disability” pursuant to 42 U.S.C. § 12131(2) and 29 U.S.C. § 794(a). The persons in the class are

so numerous that the joinder of all such persons is impracticable and that the disposition of their

claims in a class action rather than in individual actions will benefit the parties and the Court. The

class consists of thousands of persons with mobility disabilities.

                                                      98.

         The City has failed and continues to fail to comply with the ADA and Section 504 in its

implementation of administrative methods, policies, procedures, and practices with regard to the

maintenance and regulation of city sidewalks to remain clear of tent encampments and debris that
occlude the sidewalks. The City has not adopted and does not enforce appropriate administrative

methods, policies, procedures, or practices to ensure compliance with the ADA and Section 504

and that persons with mobility disabilities have equal access to facilities, programs, services, and

activities.

                                                      99.

         The violations of the ADA have injured the Plaintiffs and every member of the class and

give rise to actionable claims of discrimination under the ADA and Section 504 and, accordingly,
Plaintiffs are entitled to injunctive relief requiring the City to remediate and maintain its sidewalks

and walkways clear from tent encampments, debris, or other obstructions.
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                                                         100.

         Defendant has acted or refused to act on grounds generally applicable to the class, thereby

making appropriate final injunctive relief with respect to the class as a whole. Class claims are

brought for the purposes of obtaining injunctive relief only.

                                                         101.

         The claims of the Plaintiffs are typical of those of the class in that they arise from the same

course of conduct engaged in by Defendant. The relief sought herein will benefit all class members

alike.
                                                         102.

         Plaintiffs will fairly and adequately represent the interests of the class. They have no

interests adverse to the interests of other members of the class and have retained counsel who are

competent and experienced in litigating complex class actions, including large scale cases.

                                                         103.

         The requirements of Rule 23 of the Federal Rules of Civil Procedure are met with regard

to the proposed class in that:

                   a.       The class is so numerous that it would be impractical to bring all class

members before the court;
                   b.       There are questions of law and fact which are common to the class;

                   c.       Plaintiffs’ claims for injunctive relief are typical of the claims of the class;

                   d.       Plaintiffs will fairly and adequately represent common class interests and

are represented by counsel who are experienced in law reform class actions and the issues in this

case; and

                   e.       Defendant has acted or refused to act on grounds generally applicable to the

class.




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                                                       104.

         The common questions of law and fact, shared by the Plaintiffs and all class members,

include but are not limited to:

                   a.       Whether Defendant is violating Title II of the ADA, 42 U.S.C. § 12101, et

seq., by failing to remediate and maintain sidewalks free from obstructing tent encampments and

debris which renders the City’s sidewalk program, service, or activity inaccessible to and unusable

by persons with mobility disabilities, and which otherwise discriminates against persons with

mobility disabilities;
                   b.       Whether Defendant is violating Title II of the ADA, 42 U.S.C. § 12101, et

seq., by failing to remediate and maintain sidewalks free from obstructing tent encampments and

debris which renders facilities in which the City’s programs, services, or activities are made

available to the public inaccessible to and unusable by persons with mobility disabilities, and

which otherwise discriminates against persons with mobility disabilities;

                   c.       Whether Defendant is violating Section 504 of the Rehabilitation Act, 29

U.S.C. § 794, et seq., by failing to remediate and maintain sidewalks free from obstructing tent

encampments and debris which renders the City’s sidewalk program, service, or activity

inaccessible to and unusable by persons with mobility disabilities, and which otherwise
discriminates against persons with mobility disabilities;

                   d.       Whether Defendant is violating Section 504 of the Rehabilitation Act, 29

U.S.C. § 794, et seq., by failing to remediate and maintain sidewalks free from obstructing tent

encampments and debris which renders facilities in which the City’s programs, services, or

activities are made available to the public inaccessible to and unusable by persons with mobility

disabilities, and which otherwise discriminates against persons with mobility disabilities; and

                   e.       Whether Defendant, by its actions and omissions alleged in this Complaint,
has engaged in a pattern or practice of discriminating against Plaintiffs and other persons with

mobility disabilities in violation of applicable federal disability access laws.
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                                      FIRST CLAIM FOR RELIEF
                         Title II of the Americans with Disabilities Act of 1990
                                         42 U.S.C. § 12101 et seq.
                                                      105.

         Plaintiffs incorporate by reference the allegations contained in the preceding paragraphs.

                                                      106.

         Title II of the ADA provides in part: “no qualified individual with a disability, by reason

of such disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.” 42

U.S.C. § 12132.

                                                      107.

         At all times relevant to this action, the City was and is a “public entity” within the meaning

of Title II of the ADA and provides a sidewalk program, service, or activity to the general public.

                                                      108.

         At all times relevant to this action, Plaintiffs and the members of the class were and are

qualified individuals within the meaning of Title II of the ADA and meet the essential eligibility

requirements for the receipt of the services, programs, or activities of the City. 42 U.S.C. § 12131.

                                                      109.

         Defendant is mandated to operate each program, service or activity so that, “when viewed

in its entirety, it is readily accessible to and useable by individuals with disabilities.” 28 C.F.R. §

35.150; see also 28 C.F.R. § 35.149. This requirement applies to all programs, services, and

activities that a public entity offers, whether or not they are carried out in facilities that have been

constructed or altered since January 26, 1992. Sidewalks are a vital public service or activity under

Title II of the ADA. 28 C.F.R. § 35.104; LA Alliance, 14 F.4th at 959; Barden v. City of

Sacramento, 292 F.3d 1073, 1076 (9th Cir. 2002).




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                                                    110.

         Furthermore, the regulations implementing Title II of the ADA provide that a public entity

must maintain the features of all facilities to be accessible by the ADA. 28 C.F.R. § 35.133. The

facilities required to be accessible include sidewalks, walks, and passageways. 28 C.F.R. § 35.104.

                                                    111.

         Due to the blockages and failures to remove the blockages addressed above, the City’s

sidewalks are not fully, equally, or meaningfully accessible to Plaintiffs and members of the class

when viewed in their entirety. Nor are the facilities in which the City’s programs, services, and
activities made available to the public. Defendant has therefore violated the “program access”

obligation applicable to sidewalk facilities that have not been maintained.

                                                    112.

         Defendant and its agents and employees have violated and continue to violate Title II of

the ADA by failing to maintain the features of the City’s sidewalks and walkways free of tent

encampments, debris, and other obstructions, as is required to be accessible to ensure access to the

City’s sidewalks.

                                                    113.

         As a direct and proximate result of the foregoing, Plaintiffs and members of the class have
suffered and continue to suffer difficulty, hardship, anxiety, fear, and danger due to Defendant’s

failure to remediate and maintain sidewalks and walkways clear of tent encampments and debris

through the City’s sidewalks. These failures have denied and continue to deny Plaintiffs and

members of the class the full, equal, and meaningful access to the sidewalks that the ADA requires.

                                                    114.

         Pursuant to 42 U.S.C. §§ 12133 and 12205, Plaintiffs and members of the class are entitled

to injunctive relief enjoining Defendant to remediate, clear, and maintain all City’s sidewalks from
debris and tent encampments such that, when viewed in their entirety, the City’s sidewalks are

readily accessible and useable by individuals with mobility disabilities in a safe and clean manner;
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ensure prompt remedial measures to cure past violations of the City’s duty to maintain clear

sidewalks free from debris and tent encampments; ensure that all the City’s sidewalks

prospectively comply with all relevant ADA and Rehabilitation Act standards, as well as any other

federal and state disability standards, regulations, or rules, whichever is most stringent in its

disability access requirements. Additionally, to the extent the City may be unable to clear the City’s

sidewalks of tent encampments due to the constraints imposed by Martin v. City of Boise, 920 F.3d

584 (9th Cir. 2019) or House Bill 3115, Ch. 370 Or Laws 2021, an order requiring the City to

construct, purchase or otherwise provide for emergency shelters in which to house the unsheltered
persons affected by the Court’s judgment, to comply with applicable law, and clear and maintain

the City’s sidewalks. Plaintiffs are also entitled to reasonable attorneys’ fees, expert expenses, and

costs incurred in bringing this action.

                                     SECOND CLAIM FOR RELIEF
                               Section 504 of the Rehabilitation Act of 1973
                                          29 U.S.C. § 794 et seq.
                                                       115.

         Plaintiffs incorporate by reference the allegations contained in the preceding paragraphs.

                                                       116.

         Section 504 of the Rehabilitation Act of 1973 provides in part: “no otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving federal financial assistance . . ..” 29 U.S.C. § 794(a).

                                                       117.

         Plaintiffs and members of the class are otherwise qualified to participate in the services,

programs, or activities that are provided to individuals in the City. See 29 U.S.C. § 794(b).




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                                                      118.

         The City is a direct recipient of federal financial assistance sufficient to invoke the coverage

of Section 504 and has received such federal financial assistance at all times relevant to the claims

asserted in this Complaint.

                                                      119.

         Defendant and its agents and employees have violated, and continue to violate, the

Rehabilitation Act and the regulations promulgated thereunder by excluding the class members

from participation in, and denying the class members the benefits and services of the City’s
sidewalks for the reasons set forth above. These violations discriminate against the class members

based solely by reason of their disability.

                                                      120.

         As a direct and proximate result of the foregoing, Plaintiffs and members of the class

suffered and continue to suffer discrimination, difficulty, hardship, anxiety, fear, and danger due

to Defendant’s failure to remediate and maintain its sidewalks clear from tent encampments and

debris. These failures have denied Plaintiffs and members of the class the full, equal, and

meaningful access to the sidewalks that Section 504 requires.

                                                      121.
         Because Defendant’s discriminatory conduct presents a real and immediate threat of

current and continuing violations, injunctive relief is an appropriate remedy.

                                                      122.

         Pursuant to 29 U.S.C. § 794(a), Plaintiffs and members of the class are entitled to injunctive

relief enjoining Defendant to remediate, clear, and maintain all the City’s sidewalks from debris

and tent encampments such that, when viewed in their entirety, the City’s sidewalks are readily

accessible and useable by individuals with mobility disabilities in a safe and clean manner; ensure
prompt remedial measures to cure past violations of the City’s duty to maintain clear sidewalks

free from debris and tent encampments; ensure that all the City’s sidewalks prospectively comply
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with all relevant ADA and Rehabilitation Act standards, as well as any other federal and state

disability standards, regulations, or rules, whichever is most stringent in its disability access

requirements. Alternatively, to the extent the City may be unable clear the City’s sidewalks of tent

encampments due to constraints imposed by Martin v. City of Boise, 920 F.3d 584 (9th Cir. 2019)

or House Bill 3115, Ch 370 Or Laws 2021, an order requiring the City to construct, purchase or

otherwise provide for emergency shelters in which to house the unsheltered persons affected by

the Court’s judgment, to comply with applicable law, and clear and maintain the City’s sidewalks.

Plaintiffs are also entitled to reasonable attorneys’ fees and costs incurred in bringing this action.

                                           PRAYER FOR RELIEF
                      THEREFORE, Plaintiffs request judgment as follows:

         A.           Certification of Plaintiffs’ claims as a Class Action, certification of Plaintiffs as

Class Representatives, and certification of Plaintiffs’ counsel as Class Counsel;

         B.           Issuance of a permanent injunction requiring the City to undertake remedial

measures to mitigate the effects of the City’s past and ongoing violations of Title II of the ADA,

Section 504 of the Rehabilitation Act, and the regulations promulgated under those statutes. At a

minimum, the City must be enjoined to take the following actions:

                 i.          Ensure that the City remediates, maintains, and clears all the City’s
         sidewalks from debris and tent encampments (including buffers of ten feet from each

         sidewalk to shield class members from threats to their personal safety which they regularly

         experience when navigating close to tent encampments) such that, when viewed in their

         entirety, the City’s sidewalks are readily accessible and useable by individuals with

         mobility disabilities in a safe and clean manner;

                ii.          Ensure prompt remedial measures to cure past violations of the City’s duty

         to maintain clear sidewalks free from debris and tent encampments;
               iii.          Ensure that all the City’s sidewalks prospectively comply with all relevant

         ADA and Rehabilitation Act standards, as well as any other federal and state disability
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         standards, regulations, or rules, whichever is most stringent in its disability access

         requirements;

               iv.          To the extent the City may be unable to clear the City’s sidewalks of tent

         encampments due to the constraints imposed by Martin v. City of Boise, 920 F.3d 584 (9th

         Cir. 2019) or House Bill 3115, Ch 370 Or Laws 2021, an order requiring the City to

         construct, purchase, or otherwise provide for emergency shelters in which to house the

         unsheltered persons affected by the Court’s judgment, to comply with applicable law, and

         clear and maintain the City’s sidewalks;
         C.          Reasonable attorneys’ fees, expert expenses, and costs, as provided by law;

         D.          Monetary relief to the class representatives; and

         E.          Such other relief as the Court finds just and proper.

         DATED: September 6, 2022.

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